    Case 3:19-md-02885-MCR-HTC Document 3943 Filed 11/22/23 Page 1 of 2




                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

 IN RE: 3M COMBAT ARMS                        Case No. 3:19md2885
 EARPLUG PRODUCTS
 LIABILITY LITIGATION

 This Document Relates to the                 Judge M. Casey Rodgers
 Cases Identified on Exhibits A & B           Magistrate Judge Hope T. Cannon


                                      ORDER

      This Order addresses overlapping representation issues which the Court

ordered the respective Primary Counsel firms to resolve by November 21, 2023. See

ECF No. 3927. Exhibit A identifies overlapping resolution issues that were not

resolved by the deadline and which are thus subject to the earliest-filed rule that has

been adopted in this context. See id. Exhibit B identifies overlapping resolution

issues that were resolved by agreement, and those duplicate cases will be dismissed

consistent with those agreements. See ECF No. 3916. Accordingly:

      1.     The claimants identified on Exhibit A are deemed represented by the
             Primary Counsel firm who filed the earliest respective case, the MDL-
             Centrality PID created by that Primary Counsel firm is deemed the
             claimant’s operative PID, and the earliest-filed case for each claimant
             is deemed the claimant’s operative case. All cases associated with each
             claimant on Exhibit A, except for the earliest-filed case, are hereby
             DISMISSED WITH PREJUDICE.

      2.     The claimants identified on Exhibit B are deemed represented by the
             “Continuing” Primary Counsel firm indicated on the exhibit, the MDL-
             Centrality PID created by that Primary Counsel firm is deemed the
             claimant’s operative PID, and the case filed by that Primary Counsel
Case 3:19-md-02885-MCR-HTC Document 3943 Filed 11/22/23 Page 2 of 2
                                                                        Page 2 of 2


       firm is deemed the operative case. All cases associated with each
       claimant on Exhibit B, except for the operative case filed by the
       Continuing Primary Counsel, are hereby DISMISSED WITH
       PREJUDICE.

  3.   The Settlement Data Administrator is directed to close all but the
       operative MDL-Centrality PID for each of the claimants, merge all
       documents associated with each claimant’s duplicate PID(s) into the
       operative PID, and issue notice to Primary Counsel when the process is
       complete.

  4.   The Clerk is directed to enter this Order on the MDL docket and on the
       individual dockets, and close the dismissed cases in their entirety for all
       purposes.

  SO ORDERED, on this 22nd day of November, 2023.



                           M. CASEY RODGERS
                           UNITED STATES DISTRICT JUDGE
